     Case 1:94-cr-01009-MP-GRJ         Document 1023        Filed 04/27/06     Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:94-cr-01009-MP-AK

ROGER DARMON,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc.1022, Motion to Dismiss Indictment as to Roger

Darmon filed by the Government. In support of its motion, the government has provided

documentation indicating that the defendant is deceased. Doc. 1022-2. Accordingly, pursuant to

Fed. R. Crim. P. 48, the Indictment in this cause as to defendant Roger Darmon is dismissed.

       DONE AND ORDERED this           27th day of April, 2006


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
